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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


 TIMOTHY TRAN,
                                                             CIVIL COMPLAINT
              Plaintiff,

 v.                                                               CASE NO. 4:18-cv-00628

 CONVERGENT OUTSOURCING, INC.,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes TIMOTHY TRAN (“Plaintiff”), by and through his attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of CONVERGENT OUTSOURCING,

INC. (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., the Texas Debt Collection Act (“TDCA”) under Tex. Fin. Code Ann.

§ 392 et seq., and the Texas Deceptive Trade Practices Act (“DTPA”) under Tex. Bus. & Com.

Code § 17 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.



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      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Southern District of Texas.

                                                     PARTIES

      4. Plaintiff is a natural person residing in Texas.

      5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

      6. Defendant “provides inbound and outbound receivables management across all stages of

the consumer and commercial life cycle on both a first and third party basis.”1 Headquartered at

800 SW 39th Street, Renton, Washington 98057, Defendant is a third-party debt collector that is

in the business of collecting consumer debts for others, including a debt allegedly owed by

Plaintiff. Defendant identifies itself as a debt collector.

      7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                  FACTS SUPPORTING CAUSES OF ACTION

      9. Since at December 2017, Plaintiff has been receiving calls to his cellular phone, (214)

XXX-0992, from Defendant.

      10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 0992. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

      11. Defendant has mainly used the phone number (469) 708-2930 when placing calls to

Plaintiff’s cellular phone, but upon belief, it has used other numbers as well.



1
    http://www.convergentusa.com/receivables/ (last accessed February 15, 2018)

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    12. Upon information and belief, the above referenced phone number ending in 2930 is

regularly utilized by Defendant during its debt collection activity.

    13. Upon answering calls from Defendant, Plaintiff has experienced a significant pause,

lasting several seconds in length, before a live representative begins to speak.

    14. Plaintiff has never had any business relationship with Defendant nor has he ever given it

permission to call his cellular Phone, so Plaintiff was confused as to why Defendant was contacting

him.

    15. Upon speaking with Defendant, Plaintiff was informed that Defendant is acting as a debt

collector attempting to collect upon a debt (“subject debt”) allegedly owed by Plaintiff resulting

from fees incurred upon the closing of a bank account once held by Plaintiff.

    16. Frustrated by Defendant’s calls, Plaintiff demanded that Defendant cease contacting him

on his cellular phone.

    17. Despite Plaintiff’s demand that the calls cease, Plaintiff has still received constant phone

calls from Defendant up until the filing of this complaint.

    18. Defendant has called Plaintiff’s cellular phone multiple times during the same day, even

after being told to stop.

    19. Plaintiff has received not less than 30 phone calls from Defendant since asking it to stop

calling.

    20. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding his rights,

 resulting in expenses.

    21. Plaintiff has been unfairly and unnecessarily harassed by Defendant’s actions.

    22. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 limited to, invasion of privacy, aggravation that accompanies unwanted collection telephone calls,



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emotional distress, increased risk of personal injury resulting from the distraction caused by the

constant calls, increased usage of his telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on his cellular phone, and

diminished space for data storage on his cellular phone.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   23. Plaintiff repeats and realleges paragraphs 1 through 22 as though full set forth herein.

   24. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   25. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   26. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others.

   27. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be due to another for personal, family, or household purposes

       a. Violations of FDCPA §1692d

   28. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” Specifically, §1692d(5) further prohibits, “causing a

telephone to ring or engaging any person in telephone conversation repeatedly or continuously

with intent to annoy, abuse, or harass any person at the called number.”

   29. Defendant continuously called Plaintiff after being asked to stop placing calls to his cellular

phone. Defendant called Plaintiff at least 30 times after he demanded that Defendant cease placing

calls to his cellular phone. This repeated behavior of systematically calling Plaintiff’s phone in




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spite of his demand was harassing and abusive. The frequency and volume of calls shows that

Defendant willfully ignored Plaintiff’s plea with the goal of annoying and harassing him.

           b. Violations of FDCPA § 1692f

    30. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    31. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff, no less than 30 times, in a short period of time after Plaintiff

demanded that the calls cease. Attempting to coerce Plaintiff into payment by placing voluminous

phone calls after being told to stop calling is unfair and unconscionable behavior. These means

employed by Defendant only served to worry and confuse Plaintiff.

    32. As such, Plaintiff has been harmed and suffered damages as a result of Defendant’s illegal

actions.

    WHEREFORE, Plaintiff, TIMOTHY TRAN, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
       §1692k(a)(2)(A);

    c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. §1692k(a)(1);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k(a)(3); and

    e. Awarding any other relief as this Honorable Court deems just and appropriate.

            COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    33. Plaintiff repeats and realleges paragraphs 1 through 22 as though fully set forth herein.



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   34. The TCPA, pursuant to 47 U.S.C. §227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. §227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   35. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The significant pause, lasting a handful of seconds in length, that

Plaintiff experiences during answered calls from Defendant is indicative that an ATDS is being

utilized to generate the phone calls. Additionally, the nature and frequency of Defendant’s calls

to Plaintiff’s cellular phone points to the involvement of an ATDS.

   36. Defendant violated the TCPA by placing at least 30 phone calls to Plaintiff’s cellular

phone using an ATDS without his consent. Plaintiff has never had any business relationship with

Defendant nor has he given it permission to call his cellular phone. As such, Plaintiff could not

have given Defendant consent to contact him. Even if Defendant did have consent to contact

Plaintiff on his cellular phone, any such consent was explicitly revoked by virtue of Plaintiff’s

demand that Defendant cease placing calls to Plaintiff’s cellular phone.

   37. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   38. Under the TCPA, pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for

at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. §227(b)(3)(C). Defendant’s willful conduct is exemplified by its

persistent calling of Plaintiff’s cellular phone despite Plaintiff’s demand that the calls cease.



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   WHEREFORE, Plaintiff, TIMOTHY TRAN, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   39. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth herein.

   40. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. §392.001(1).

   41. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. §392.001(6) and (7).

   42. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. §392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   43. The TDCA, pursuant to Tex. Fin. Code Ann. §392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   44. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

30 times after he requested that Defendant cease placing the unwanted and harassing calls. This

repeated behavior of systematically calling Plaintiff’s phone in spite of his request that the calls



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cease was harassing and abusive. Furthermore, the nature and volume of phone calls, including

multiple calls during the same day, would naturally cause an individual to feel oppressed.

   WHEREFORE, Plaintiff, TIMOTHY TRAN, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. §392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. §392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann.
      §392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

         COUNT IV – VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

  45. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth herein.

  46. The DTPA states:

               “False, misleading, or deceptive acts or practices in the conduct of
               any trade or commerce are hereby declared unlawful and are subject
               to action by the consumer protection division under Sections 17.47,
               17.58, 17.60, and 17.61 of this code.” Tex. Bus. & Com. Code §
               17.46.

   47. Plaintiff is a “person” as defined by Tex. Bus. & Com. Code § 17.45(3).

   48. Plaintiff is a “consumer” as defined by Tex. Bus. & Com. Code § 17.45(4).

   49. Defendant is a “person” as defined by Tex. Bus. & Com. Code § 17.45(3).

   50. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by Tex.

Bus. & Com. Code § 17.45(6).




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   51. Defendant violated the DTPA by engaging in an unlawful deceptive act or practice in

contacting Plaintiff. Defendant called Plaintiff through means of an ATDS after he demanded that

Defendant cease placing calls to his cellular phone. Defendant ignored Plaintiff’s request by

continuing to systematically place calls to his cellular phone without his consent. By doing so,

Defendant falsely and deceptively represented that it had the legal ability to contact Plaintiff on

his cellular phone when it did not. Defendant was obligated under the TCPA to cease its contacts.

Following its characteristic behavior in placing voluminous calls to consumers, Defendant

engaged in a deceptive act, willfully done with knowledge that consumers are unlikely to be aware

of their rights and are susceptible to sustained pressure.

   52. The DTPA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   53. The DTPA further states:

               “A consumer may maintain a cause of action where [ ] the following
               constitute[s] a producing cause of economic damages or damages
               for mental anguish: any unconscionable action or course of action
               by any person.” Tex. Bus. & Com. Code §§ 17.45(5) and
               17.50(a)(3).

   54. Plaintiff has suffered actual damages as a result of Defendant’s unconscionable practices.

As such, Plaintiff is entitled to relief pursuant to Tex. Bus. & Com. Code. § 17.50(b)(1)(3). An

award of three times actual damages and punitive damages is appropriate because Defendant’s

conduct was committed knowingly and intentionally. After Defendant was notified by Plaintiff

that he did not wish to receive any more phone calls, Defendant clearly knew that it should no

longer contact Plaintiff on his cellular phone. Yet, Defendant acted in defiance of Plaintiff’s

request and the law by continuing to bombard him with collection calls. In an unfair and

unconscionable manner, Defendant called Plaintiff at least 30 times in an attempt to harass him.



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   55. Defendant has also placed multiple calls to Plaintiff’s cellular phone in the same day, even

after being told to cease calling. Placing several calls in a short amount of time is extremely

harassing behavior that amounts to unconscionable practice, especially after being told by Plaintiff

that he does not want to be contacted.

   56. As stated, Defendant is also in violation of the TDCA. “A violation of the TDCA is a per

se deceptive trade practice under the DTPA, and is actionable under the DTPA.” Tex. Fin. Code.

Ann. § 392.404(a).

   57. Thus, Defendant’s harassment campaign does not only violate the TDCA, as evidenced

above, but also constitutes a per se deceptive trade practice pursuant to the DTPA. Upon

information and belief, Defendant regularly engages in the above described behavior against

consumers in Texas and for public policy reasons should be penalized.

   WHEREFORE, Plaintiff, TIMOTHY TRAN, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages, pursuant to Tex. Bus. & Com. Code. §17.50(b)(1)(3);

   c. Awarding Plaintiff three times actual damages, pursuant to Tex. Bus. & Com. Code
      §17.50(b)(1);

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Bus. & Com.
      Code § 17.50(d);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.




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Dated: February 27, 2018                     Respectfully submitted,

/s/ Marwan R. Daher                          /s/ Omar T. Sulaiman
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